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B 104 (FORM 104) (08/07)


                      ADVERSARY PROCEEDING COVER SHEET                                                       ADVERSARY PROCEEDING NUMBER
                                       (Instructions on Reverse)                                             (Court Use Only)

PLAINTIFF                                                                       DEFENDANTS
Heather W. Culp, Trustee                                                        Peter Lee and Norma Lee
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)

Cole Hayes
601 S. Kings Drive
Suite F – PMB # 411
Charlotte, NC 28204
704-490-4247

PARTY (Check one box only)                                                      PARTY (Check one box only)
          Debtor                           U.S. Trustee/Bankruptcy Admin.                 Debtor                          U.S. Trustee/Bankruptcy Admin.
          Creditor                         Other                                          Creditor                        Other
          Trustee                                                                         Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Avoidance of transfers, recover of transfers, and sale of real property: 11 U.S.C. §§ 105, 363, 544, 548, and 550 as well as
N.C. Gen. Stat. § 39-23.1 et seq. and 28 U.S.C. § 3304 et seq .
                                                     NATURE OF SUIT
           (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
  FRBP 7001(1)— Recovery of Money/Property                                      FRBP 7001(6)— Dischargeability (continued)
   11-Recovery of money/property - §542 turnover of property                      61-Dischargeability - §523(a)(5), domestic support
   12-Recovery of money/property - §547 preference                                68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                       63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property – other                                          64-Dischargeability -§523(a)15), divorce or separation Obligation
                                                                                  (other than domestic support)
   FRBP 7001(2) — Validity, Priority or Extent of Lien                            65-Dischargeability – other
   21-Validity, priority or extent of lien or other interest in property
                                                                                FRBP 7001(7) — Injunctive Relief
   FRBP 7001(3)— Approval of Sale of Property                                     71-Injunctive relief— imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief— other

    FRBP 7001(4) — Objection/Revocation of Discharge                            FRBP 7001(8) Subordination of Claim or Interest
    41 -Objection / revocation of discharge §727(c),(d),(e)                       81-Subordination of claim or interest

   FRBP 7001(5) — Revocation of Confirmation                                    PREP 7001(9) Declaratory Judgment
   51-Revocation of confirmation                                                  91-Declaratory judgment

    FRBP 7001(6)— Dischargeability                                              PREP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims               01-Determination of removed claim or cause
    62-Dischargeability - §523(a)(2), false pretenses, false representation,
       actual fraud                                                             Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement,           SS-SIPA Case—15 U.S.C. §78a et.seq.
larceny                                                                           02-Other (e.g. other actions that would have been brought in state court
                         (continued next column)                                        if unrelated to bankruptcy case)

   Check if this case involves a substantive issue of state law                     Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                               Demand – To be determined
Other Relief Sought
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                               BANKRUPTY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                                BANKRUPTCY CASE NO.
Paul Hemingfield and Alison Hemingfield                                       21-30490
DISTRICT IN WHICH CASE IS PENDING          DIVISIONAL OFFICE                               NAME OF JUDGE
Western                                    Charlotte                                       J. Craig Whitley
                                          RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                  DEFENDANT                                       ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS             DIVISION OFFICE                                 NAME OF JUDGE
PENDING



SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Cole Hayes

DATE                                       PRINT NAME OF ATTORNEY (OR PLAINTIFF)

July 22, 2022                              Cole Hayes


                                                       INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists
  of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive
  and the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There
  also may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
  adversary proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management
  Electronic Case Filing system (CM/ECF), (CM/ECF captures the information on Form 104 as part of the filing process.)
  When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs
  the information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of
  pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which
  is largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
  represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by
  an attorney, the plaintiff must sign.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  (Charlotte Division)

In re:                                  )
                                        )             Chapter 7
Paul Hemingfield and Alison Hemingfield )
                                        )             Case No. 21-30490
              Debtors.                  )
                                        )
                                        )
Heather W. Culp, Trustee of the         )
Bankruptcy Estate of Paul Hemingfield )
and Alison Hemingfield                  )
                                        )
                     Plaintiff          )
                                        )
vs.                                     )             Adv. Proc. No. 22-______
                                        )
Peter F. Lee and Norma Lee              )
                                        )
                     Defendants         )
                                        )

                                          COMPLAINT

         Now comes Heather W. Culp (the “Plaintiff”) as the Trustee for the Bankruptcy Estate of

Paul Hemingfield and Alison Hemingfield and shows the Court as follows:

                                Parties, Jurisdiction, and Venue

         1.     The Plaintiff is the duly appointed, acting, and qualified Chapter 7 Trustee for the

bankruptcy estate of Paul Hemingfield and Alison Hemingfield.

         2.     Paul Hemingfield and Alison Hemingfield (the “Debtors”) are the debtors in the

bankruptcy case bearing Case Number 21-30490 (the “Bankruptcy Case”), filed on August 31,

2021 (the “Petition Date”), and pending in the Bankruptcy Court for the Western District of North

Carolina (the “Court”).




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        3.       The Defendants, Peter and Norma Lee, are Alison Hemingfield’s parents and

insiders of the Debtors.

        4.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157 and 1334.

        5.       This matter is a core proceeding pursuant to 28 U.S.C. § 157.

        6.       Venue of this action is proper in this Court pursuant to 28 U.S.C. § 1409(a).

        7.       The statutory predicates for relief are 11 U.S.C. §§ 105, 363, 544, 548, and 550 as

well as N.C. Gen. Stat. § 39-23.1 et seq. and 28 U.S.C. § 3304 et seq.

        8.       The Plaintiff commences this action pursuant to Rules 4003, 4004, and 7001 of the

Federal Rules of Bankruptcy Procedure.

                                                    Facts

The Debtors’ Financial Condition in the Six Years Prior to the Petition Date

        9.       The Debtors owned and operated AP Hemi, Inc., a corporation organized and

registered in the State of North Carolina.

        10.      In March 2014, AP Hemi, Inc. purchased the assets of Alliance Document

Solutions, Inc. (“Alliance”) for $2,950,000.00. The assets purchased included real property

located at 10348 Southern Loop Boulevard in Pineville, North Carolina. Alliance financed

$1,000,000.00 of the purchase price (the “Alliance Note”) secured by a deed of trust on 10348

Southern Loop Boulevard. 1 The Alliance Note required monthly payments in the amount of

$17,399.02 (almost entirely comprising interest) and a balloon payment of $917,373.20 on April

1, 2019.

        11.      The Debtors guaranteed the Alliance Note.



1
  The purchase was owner financed by a former husband and wife. The Alliance Note was later assigned and is now
two separate debts—one debt to the husband and one debt to the wife—but discussed as one, consolidated debt in
this Complaint for the sake of clarity.

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         12.   To further finance the Alliance purchase, in March 2014, AP Hemi, Inc. borrowed

$2,800,000.00 from Vantage South Bank.

         13.   In March 2014, AP Hemi, Inc., opened a $100,000.00 revolving line of credit with

Vantage South Bank.

         14.   Upon information and belief, and according to the records of the North Carolina

Secretary of State, in July 2014, VantageSouth Bank merged with Yadkin Bank. Yadkin Bank

was the surviving entity. Upon further information and belief, in March 2017, Yadkin Bank

merged with First National Bank of Pennsylvania (“FNB”). FNB was the surviving entity. The

two previously mentioned loans owing to Vantage South Bank were ultimately transferred to FNB

(the two loans owed to FNB, the “FNB Debt”). On the Petition Date, FNB was the holder of the

two previously mentioned loans originally owing to Vantage South Bank.

         15.   The FNB Debt was secured by a deed of trust on 10348 Southern Loop Boulevard.

         16.   The Debtors guaranteed the FNB Debt.

         17.   The FNB Debt is a Small Business Administration loan insured or guaranteed by

the United States of America. The Small Business Administration is an agency of the United

States of America.

         18.   A partial summary of the historical balance of the FNB Debt is attached as Exhibit

1.

         19.   In May 2016, Debtor Paul Hemingfield contacted the holders of the Alliance Note

seeking a modification because AP Hemi, Inc. was not generating sufficient profits. At that time,

the principal balance of the Alliance Note was still $1,000,000.00. Debtor Paul Hemingfield

requested that the principal on the Alliance Note be reduced. The holders of the Alliance Note




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refused. After meeting, the parties instead agreed to reduce the required interest payments and

extend the terms of the Alliance Note.

        20.      In August 2018, Debtor Paul Hemingfield contacted the holders of the Alliance

Note to inform them that the business was failing and was struggling to make payments to

creditors.

        21.      By December 2018, AP Hemi Inc. had altogether ceased making payments on the

Alliance Note. Debtor Paul Hemingfield alluded at that time that he was considering filing

bankruptcy.

        22.      In October 2019, AP Hemi, Inc. sold its real property located at 10348 Southern

Loop Boulevard for $2,200,000.00. The sale price was not sufficient to satisfy the debt secured

by 10348 Southern Loop Boulevard. From the proceeds of the sale, the FNB Debt was partially

satisfied via payment of $1,664,869.55. The debt owed on the Alliance Note was partially satisfied

via payment of $110,000.00.

        23.      On the Petition Date, the Debtors still owed over $485,000.00 on the FNB Debt and

owed over $865,000.00 on the Alliance Note. 2

        24.      In the six years prior to the Petition Date, the combined debts owed to FNB and

Alliance fluctuated between $3.44 million and no less than $1.35 million, with the lowest balance

being after the sale of 10348 Southern Loop Boulevard.

        25.      In the six years prior to the Petition Date, the value of the combined assets of the

Debtors and AP Hemi, Inc. available to satisfy these debts never exceeded the amounts owed to

FNB and Alliance:




2
 The amount shown owing on the Alliance Note is per the Debtors’ schedules. Plaintiff believes the scheduled debt
on the Alliance Note is understated.

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                a.     No appreciable reductions in principal were made to Alliance prior to the

       sale of 10348 Southern Loop Boulevard.

                b.     When AP Hemi, Inc. sold 10348 Southern Loop Boulevard, FNB was owed

       over $2.22 million.

                c.      The sale of 10348 Southern Loop Boulevard did not satisfy the debts

       secured by the property or the debts guaranteed by the Debtors.

                d.     During the six years prior to the Petition Date, all the Debtors’ other real

       property holdings were either over encumbered or had no more than $131,000.00 in equity.

                e.     Based on a public records search, during the six years prior to the Petition

       Date, the Debtors owned minimal unencumbered personal property that could have been

       liquidated to satisfy the debts of FNB and Alliance.

                f.     AP Hemi Inc.’s personal property was sold at auction in April 2022 for less

       than $17,000.00.

       26.      Not counting any debts other than those owed to FNB and Alliance, the Debtors

were therefore insolvent for at least six years prior to the Petition Date.

       27.      Including the Debtors’ other debts pushes them farther into insolvency by at least

another $1.1 million depending on the date in question. For instance, in addition to the debts owed

to FNB and Alliance, the Debtors were also liable for debts to:

                a.     The Small Business Administration ($1,000,000.00 on the Petition Date,

       which according to the Debtors, is in addition to the FNB Debt [Case No. 21-30490, Doc.

       7, pg. 9]; the Small Business Administration filed its own UCC Financing Statement in

       2020);

                b.     American Express (over $114,000.00 in October 2019);



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               c.      On Deck Capital, Inc. (at least $21,000.00 in October 2019);

               d.      Discover Bank (approximately $25,000.00 on the Petition Date according

       to the Debtors);

               e.      Wells Fargo Bank, N.A. (a $235,000.00 mortgage lien as of July 2021 on

       the real property fraudulently transferred to AP Hemi Properties, LLC discussed below);

       and

               f.      Two creditors holding secured claims on an over-encumbered home the

       Debtors owned in Statesville, North Carolina and sold in January 2021 for $580,000.00.

       At closing, the two mortgage holders on the Statesville property were paid over

       $575,000.00. To cover the mortgages and costs of sale, the Debtors had to pay an

       additional $15,591.87 at closing.

The Debtors’ Attempts to Shield Assets from Creditors and Transfers to the Defendants

       28.     In October 2018, just a few month after Debtor Paul Hemingfield indicated to

creditors that AP Hemi, Inc. was failing, the Debtors began working to convey their real property

holdings to insiders so that the properties would not be available to satisfy their individual debts:

               a.      On October 3, 2018, the Debtors conveyed real property located at 1949

       Winpole Lane in Charlotte, North Carolina to AP Hemi Properties, LLC, a limited liability

       company wholly owned by the Debtors. AP Hemi Properties, LLC paid no consideration

       for this transfer. This transfer has already been avoided.

               b.      A week later, on October 10, 2018, the Debtors conveyed their partial

       interest in 122 Spring Shore Road in Statesville, North Carolina (the “Property”) to the

       Defendants. The Defendants paid no consideration for the transfer of the Debtors’ interest




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       in the Property. The Debtors’ transfer of their interest in the Property is hereinafter referred

       to as the “Property Transfer.”

       29.      In attorney files turned over to the Plaintiff, the Debtors’ bankruptcy counsel

described the Debtors’ dealings during this period as follows:




       30.      In addition to the Property Transfer, the Debtors transferred at least $74,523.00 to

the Defendants in the four years prior to the Petition Date (the “Four Year Transfers”). Of that

amount, the Defendants received at least $32,441.00 in the two years prior to the Petition Date (the

“Two Year Transfers”). The Two Year and Four Year Transfers are summarized on Exhibit 2.

       31.      In addition to the Two Year Transfers and the Four Year Transfers, the Debtors

transferred $1,534.00 per month to the Defendants in the fifth and sixth years preceding the

Petition Date for a total of $36,816.00 (the “Five and Six Year Transfers”).

       32.      The Two Year Transfers, the Four Year Transfers, and the Five and Six Year

Transfers are hereinafter referred to as the “Monetary Transfers.”

       33.      The Debtors received no consideration for the Monetary Transfers.                More

specifically:

                a.     Many of the Two Year and Four Year Transfers are attributable to checks

       written directly to Debtor Alison Hemingfield and deposited into a joint account held in

       the name of Alison Hemingfield and the Defendants.

                b.     The joint account was first opened when the Defendants moved to the

       United States from England. According to the Debtors’ bankruptcy counsel, Debtor Alison



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        Hemingfield had to be named on the joint account as the Defendants were not permanent

        residents of the United States.

                c.       The Debtors’ bankruptcy counsel elaborated further that all transactions out

        of the joint account are bills of the Defendants.

                d.       The Debtors did not use the funds in the joint account.

                e.       The Monetary Transfers were made by the Debtors to support the

        Defendants when they had no legal obligation to do so.

        34.     According to attorney files turned over to the Plaintiff, the Debtors informed their

bankruptcy counsel of the Monetary Transfers.

        35.     The Debtors’ bankruptcy counsel prepared a draft Statement of Financial Affairs

that partially disclosed the Monetary Transfers as shown on Exhibit 3.

        36.     However, as shown on the docket in the Bankruptcy Case, the Debtors ultimately

chose to not disclose the Monetary Transfers on the Statement of Financial Affairs filed under

penalty of perjury.

        37.     The Debtors further concealed the Monetary Transfers by failing to disclose the

same at their meetings of creditors and by testifying under penalty of perjury that their bankruptcy

filings were accurate.

                                First Claim for Relief
  Avoidance of Two Year Transfers pursuant to 11 U.S.C. § 548 (Actual and Constructive
                                       Fraud)

        38.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        39.     The Two Year Transfers represent transfers of property of the Debtors to the

Defendants.



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       40.    The Two Year Transfers were made while the Debtors were insolvent.

       41.    The Debtors received less than reasonably equivalent value in exchange for the

Two Year Transfers.

       42.    The Two Year Transfers were made with the intent to hinder, delay, or defraud a

creditor or an officer of the Debtors’ bankruptcy estate. The following badges of fraud are

applicable to the Two Year Transfers:

              a.      The Defendants are insiders of the Debtors.

              b.      The Debtors were insolvent when they made the Two Year Transfers to the

       Defendants.

              c.      Several of the Two Year Transfers occurred while the Debtors were

       preparing to file the Bankruptcy Case.

              d.      At the time of the Two Year Transfers, the Debtors were unable to pay their

       debts as they came due.

              e.      At the time of the Two Year Transfers, the Debtors were engaged or were

       about to engage in a business or a transaction for which the remaining assets of the Debtors

       were unreasonably small in relation to the business or transaction.

              f.      The Debtors did not receive reasonably equivalent value in exchange for the

       Two Year Transfers.

              g.      The Debtors concealed one or more of the Two Year Transfers.

              h.      The Debtors made the Two Year Transfers during the same time they were

       divesting themselves of other assets.

       43.    The Two Year Transfers should therefore be avoided.




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                                Second Claim for Relief
 Avoidance of Four Year Transfers pursuant to 11 U.S.C. § 544 and N.C. Gen. Stat. § 39-
                     23.1 et seq (Actual and Constructive Fraud)

        44.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        45.     The Four Year Transfers represent transfers of property of the Debtors to the

Defendants.

        46.     The Four Year Transfers were made while the Debtors were insolvent.

        47.     The Debtors received less than reasonably equivalent value in exchange for the

Four Year Transfers.

        48.     The Four Year Transfers were made with the intent to hinder, delay, or defraud a

creditor or an officer of the Debtors’ bankruptcy estate. The following badges of fraud are

applicable to the Four Year Transfers:

                a.       The Defendants are insiders of the Debtors.

                b.       The Debtors were insolvent when they made the Four Year Transfers to the

        Defendants.

                c.       Several of the Four Year Transfers occurred while the Debtors were

        preparing to file the Bankruptcy Case.

                d.       At the time of the Four Year Transfers, the Debtors were unable to pay their

        debts as they came due.

                e.       At the time of the Four Year Transfers, the Debtors were engaged or were

        about to engage in a business or a transaction for which the remaining assets of the Debtors

        were unreasonably small in relation to the business or transaction.




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                f.       The Debtors did not receive reasonably equivalent value in exchange for the

        Four Year Transfers.

                g.       The Debtors concealed one or more of the Four Year Transfers.

                h.       The Debtors made the Four Year Transfers during the same time they were

        divesting themselves of other assets.

        49.     The Four Year Transfers should therefore be avoided.

                                    Third Claim for Relief
              Avoidance of the Property Transfer pursuant to 11 U.S.C. § 544 and
               N.C. Gen. Stat. § 39-23.1 et seq (Actual and Constructive Fraud)

        50.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        51.     The Property Transfer represents a transfer of property of the Debtors to the

Defendants.

        52.     The Property Transfer was made while the Debtors were insolvent.

        53.     The Debtors received less than reasonably equivalent value in exchange for the

Property Transfer.

        54.     The Property Transfer was made with the intent to hinder, delay, or defraud a

creditor or an officer of the Debtors’ bankruptcy estate. The following badges of fraud are

applicable to the Property Transfer:

                a.       The Defendants are insiders of the Debtors.

                b.       The Debtors were insolvent when they made the Property Transfer to the

        Defendants.

                c.       At the time of the Property Transfer, the Debtors were unable to pay their

        debts as they came due.



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                d.       At the time of the Property Transfer, the Debtors were engaged or were

        about to engage in a business or a transaction for which the remaining assets of the Debtors

        were unreasonably small in relation to the business or transaction.

                e.       The Debtors did not receive reasonably equivalent value in exchange for the

        Property Transfer.

                f.       The Debtors made the Property Transfer during the same time they were

        divesting themselves of other assets.

        55.     The Property Transfer should therefore be avoided.

                              Fourth Claim for Relief
Avoidance of Monetary Transfers pursuant to 11 U.S.C. § 544 and 28 U.S.C. § 3304 et seq.
                         (Actual and Constructive Fraud)

        56.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        57.     The FNB Debt arose prior to the Monetary Transfers.

        58.     The FNB Debt is a debt insured or guaranteed by the United States of America.

        59.     The Monetary Transfers represent transfers of property of the Debtors to the

Defendants.

        60.     The Monetary Transfers were made while the Debtors were insolvent.

        61.     The Debtors received less than reasonably equivalent value in exchange for the

Monetary Transfers.

        62.     The Monetary Transfers were made with the intent to hinder, delay, or defraud the

United States of America via its guarantee of the FNB Debt. The following badges of fraud are

applicable to the Monetary Transfers:

                a.       The Defendants are insiders of the Debtors.



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                b.       The Debtors were insolvent when they made the Monetary Transfers to the

        Defendants.

                c.       At the time of the Monetary Transfers, the Debtors were unable to pay their

        debts as they came due.

                d.       At the time of the Monetary Transfers, the Debtors were engaged or were

        about to engage in a business or a transaction for which the remaining assets of the Debtors

        were unreasonably small in relation to the business or transaction.

                e.       The Debtors did not receive reasonably equivalent value in exchange for the

        Monetary Transfers.

                f.       The Debtors made the Monetary Transfers during the same time they were

        divesting themselves of other assets.

        63.     The Monetary Transfers should therefore be avoided.

                                  Fifth Claim for Relief
  Avoidance of the Property Transfer pursuant to 11 U.S.C. § 544 and 28 U.S.C. § 3304 et
                          seq. (Actual and Constructive Fraud)

        64.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        65.     The FNB Debt arose prior to the Monetary Transfers.

        66.     The FNB Debt is a debt insured or guaranteed by the United States of America.

        67.     The Property Transfer represents a transfer of property of the Debtors to the

Defendants.

        68.     The Property Transfer was made while the Debtors were insolvent.

        69.     The Debtors received less than reasonably equivalent value in exchange for the

Property Transfer.



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        70.     The Property Transfer was made with the intent to hinder, delay, or defraud the

United States of America via its guarantee of the FNB Debt. The following badges of fraud are

applicable to the Property Transfer:

                a.       The Defendants are insiders of the Debtors.

                b.       The Debtors were insolvent when they made the Property Transfer to the

        Defendants.

                c.       At the time of the Property Transfer, the Debtors were unable to pay their

        debts as they came due.

                d.       At the time of the Property Transfer, the Debtors were engaged or were

        about to engage in a business or a transaction for which the remaining assets of the Debtors

        were unreasonably small in relation to the business or transaction.

                e.       The Debtors did not receive reasonably equivalent value in exchange for the

        Property Transfer.

                f.       The Debtors made the Property Transfer during the same time they were

        divesting themselves of other assets.

        71.     The Property Transfer should therefore be avoided.

                                     Sixth Claim for Relief
                        Recovery of Transfers pursuant to 11 U.S.C. § 550

        72.     The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

        73.     The Monetary Transfers and the Property Transfer are avoidable pursuant to 11

U.S.C. §§ 544 and/or 548.

        74.     The Defendants were the initial transferees of the Monetary Transfers and the

Property Transfer.

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         75.      As a result, the Plaintiff is entitled to recover the Monetary Transfers and the

Property Transfer (or the value of the Monetary Transfers and the Debtors’ interest in the Property)

from the Defendants. 3

                                Seventh Claim for Relief
Request to sell Property pursuant to 11 U.S.C. § 363(h) (in the event the Property Transfer
                                        is avoided)

         76.      The Plaintiff realleges all prior paragraphs of this complaint and incorporates them

as if fully set forth herein.

         77.      If the Property Transfer is avoided and the Debtors’ interest in the Property

recovered, the bankruptcy estate and the Defendants will own the Property as joint tenants.

         78.      The Property is comprised of a single family home on .37 acres of land. Partition

of the Property in kind is not practicable.

         79.      Sale of the bankruptcy estate’s interest in the Property would realize significantly

less for the bankruptcy estate than sale of the Property free of the interests of the Defendants.

         80.      The benefit to the bankruptcy estate of a sale of the Property free of the interests of

the Defendants outweighs the detriment, if any, to the Defendants.

         81.      The Property is not used in the production, transmission, or distribution, for sale,

of electric energy or of natural or synthetic gas for heat, light, or power.

         82.      Thus, if the Property Transfer is avoided, the Plaintiff should be afforded the

authority to sell the Property free and clear of the interests of the Defendants with the Defendants’

interests in the Property attaching to the proceeds of the sale.

WHEREFORE, the Plaintiff respectfully requests judgment as follows:

         1.       That the Monetary Transfers be avoided;


3
  To be clear, the Plaintiff has pled alternative grounds to avoid the various transfers at issue, but is only attempting
to recover each individual transfer one time. The Plaintiff is not seeking a double recovery.

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       2.      That the Property Transfer be avoided;

       3.      That the Plaintiff recover the value of the Property Transfer from the Defendants

or, alternatively, be permitted to liquidate the Property pursuant to Section 363(h) of the

Bankruptcy Code;

       4.      That the Plaintiff recover the value of the Monetary Transfers from the Defendants;

       5.      That judgement avoiding the Monetary Transfers and avoiding the Property

Transfer be entered against the Defendants with said judgment:

               a.     Awarding damages to the Plaintiff in the amount of $111,339.00 for

       recovery of the Monetary Transfers and

               b.     Vesting the bankruptcy estate with the Debtors’ interest in the Property as

       it existed prior to the Property Transfer.

       6.      That the Court grant the Plaintiff such other and further relief as the Court deems

just and proper.

                                                             /s/ Cole Hayes /s/
 Dated: Charlotte, North Carolina                    Cole Hayes (Bar No. 44443)
 July 22, 2022                                       601 S. Kings Drive
                                                     Suite F PMB #411
                                                     Charlotte, NC 28204
                                                     704-490-4247
                                                     cole@colehayeslaw.com
                                                     Attorney to the Plaintiff




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Exhibit 2
Deposit Date       Amount                         Deposit Date      Amount
        9/25/2017         $1,268.00                      10/28/2019          $634.00
       10/11/2017         $1,268.00                       12/9/2019          $634.00
       10/31/2017           $400.00                      12/30/2019        $1,000.00
        11/6/2017         $1,268.00                        1/6/2020          $634.00
       11/21/2017           $400.00                       1/23/2020          $900.00
       12/14/2017         $1,268.00                       2/10/2020          $634.00
       12/19/2017           $400.00                        3/9/2020          $634.00
        1/17/2018           $400.00                       3/10/2020        $1,000.00
        1/22/2018         $1,268.00                        4/7/2020          $634.00
        2/12/2018         $1,268.00                        6/8/2020          $900.00
        2/20/2018           $250.00                        6/8/2020          $634.00
        2/20/2018           $400.00                       7/10/2020          $634.00
          3/9/2018        $1,268.00                       7/20/2020        $1,000.00
        3/19/2018           $400.00                        8/7/2020          $634.00
        4/17/2018           $400.00                       8/18/2020          $900.00
        4/23/2018         $1,268.00                       9/10/2020          $634.00
          5/7/2018        $1,268.00                       9/15/2020          $900.00
        5/17/2018           $400.00                       10/7/2020          $634.00
        6/13/2018         $1,268.00                      10/15/2020          $900.00
        6/19/2018           $400.00                       11/9/2020          $634.00
          7/9/2018        $1,268.00                      11/16/2020        $1,000.00
        7/17/2018           $400.00                       12/7/2020          $634.00
          8/6/2018        $1,268.00                      12/16/2020          $900.00
        8/17/2018           $400.00                       1/13/2021          $634.00
        9/11/2018         $1,268.00                       1/19/2021          $900.00
        9/18/2018           $400.00                       1/25/2021        $4,000.00
        10/4/2018         $1,268.00                       2/16/2021          $900.00
       10/31/2018         $5,000.00                        3/1/2021          $105.00
        11/6/2018         $1,268.00                       3/15/2021          $950.00
       12/11/2018         $1,268.00                       4/12/2021          $634.00
        1/14/2019         $1,268.00                       4/15/2021          $900.00
        2/11/2019         $1,268.00                        5/6/2021          $634.00
          3/7/2019        $1,268.00                       5/18/2021          $900.00
        3/19/2019           $400.00                        6/7/2021          $634.00
          4/8/2019        $1,268.00                       7/12/2021          $634.00
        4/17/2019           $400.00                       8/10/2021          $634.00
          5/9/2019        $1,268.00
        5/17/2019           $400.00           Total 2 Year Transfers      $32,441.00
        6/10/2019         $1,268.00           Total 4 Year Transfers      $74,523.00
        6/18/2019           $400.00
        7/11/2019         $1,268.00
          8/7/2019        $1,268.00
        9/11/2019         $1,268.00
        10/7/2010           $634.00
       10/28/2019           $438.00
Debtor
                   Case 21-30490
                 Paul Hemingfield & Alison Hemingfield
                First Name           Middle Name
                                                      Doc 76
                                                   Last Name
                                                                         Exhibit 3
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         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.
                                                       Dates of payment            Total amount paid             Amount you still     Reason for this payment
                                                                                                                 owe


                                                                                 $ 7,608.00                    $ 0.00                 parental support
         Norma Lee
         Creditor’s Name
         122 Spring
         Number       Street
         Statesville NC              28677
         City                State   ZIP Code



                                                                                 $ 10,800.00                   $ 0.00                 parental support
         Peter Lee
         Creditor’s Name
         122 Spring Shore Rd
         Number       Street
         Statesville NC              28677
         City                State   ZIP Code


8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes




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